 

Case 1:18-cr-00230-GBD Document 100 Filed 10/16/20 Page 1 of 1

 

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UNITED STATES DISTRICT COURT : es i
SOUTHERN DISTRICT OF NEW YORK — i
UNITED STATES, 1 _ I
Plaintiff, :
ORDER
-against- :
; 18 Crim. 230 (GBD)
OSWALDO MOREL-GARDEN, :
Defendant. :
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GEORGE B. DANIELS, United States District Judge:

The October 29, 2020 sentencing is rescheduled from 10:00 am to 11:00 am.

Dated: New York, New York
October 15, 2020
SO_ORDERED.

) {By b D Or.

EDR@} B. DANIELS
United States District Judge

 
